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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION



 UNITED STATES OF AMERICA

 v.                                                    Case No. 8:09-cr-572-T-30TGW

 MARK ANTHONY MYRIE
 _______________________________/

                                             ORDER

        THIS CAUSE came on for consideration upon Defendant Mark Myrie’s Motion for

 Reconsideration of the August 7th Order (Dkt. #384). The motion again points out that it

 is within the broad discretion of this Court to grant a new trial if required in the interests of

 justice, even if the evidence was sufficient for conviction under Rule 29.

        This Court is aware that it has the discretion to grant a new trial. And the Court would

 grant a new trial on the gun count if it perceived some infirmity in the trial process that

 contributed to the jury’s finding of guilt. But that is not the case.

        This Court granted a judgment of acquittal on the gun count solely because it deemed

 the evidence insufficient to find Myrie guilty beyond a reasonable doubt, not because of a

 lack of credibility of the witnesses on that issue or that an error in trial procedure contributed

 to the finding of guilt. In fact, the evidence on the gun count was basically undisputed. This

 Court set aside the jury’s finding of guilt because it determined, if guns and drugs do not

 always go together, Myrie had a strong argument that he could not reasonably foresee a gun

 being present at the transaction since he had no idea who the buyer was, much less the
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 buyer’s anticipated normal method of doing business. The Eleventh Circuit disagreed and

 concluded that the evidence was sufficient for a jury to conclude that the presence of a gun

 at the transaction was reasonably foreseeable to Myrie. Since this Court’s judgment of

 acquittal was based only on the sufficiency of the evidence, not on any infirmity in the trial

 process itself, Myrie’s motion for a new trial was denied.

           It is therefore ORDERED AND ADJUDGED that Defendant Mark Myrie’s Motion

 for Reconsideration of the August 7th Order (Dkt. #384) is DENIED.

           DONE and ORDERED in Tampa, Florida on August 16, 2012.




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 Counsel/Parties of Record
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